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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,
V. 22-CR-86-V
24-CR-31-V

JUSTIN HALL,

Defendant.

FINAL ORDER OF FORFEITURE

WHEREAS, on May 29, 2024, the Court entered a Preliminary Order of Forfeiture
(“Preliminary Order”) (ECF No. 132), condemning and forfeiting the defendant’s right, title

and interest in the following assets (“Firearms and Ammunition”):

a. One CS 9mm semi-automatic pistol, Model 75 P-01, bearing serial
number D1073971;!

b. One Anderson Manufacturing ARM AM-15 rifle, bearing serial number
15200421;

c. One Ruger American 30-06 Springfield rifle, bearing serial number 690-
31000;

d. One Remington Arms 12-guage 870 shotgun, with no visible serial

numbers; and

'In the District of Nevada, the defendant was charged by indictment with a violation of Title 18, United States
Code, Sections 922(g)(9) and 924(a)(2) (Prohibited Person in Possession of a Firearm) for possession of this
firearm. See DNV Indictment 22-CR-32. Pursuant to Rule 20 of the Federal Rules of Criminal Procedure, the
Government and the defendant agreed that the defendant would plead guilty in the Western District of New
York for the criminal conduct arising in the District of Nevada (D. Nevada Indictment Number 22-CR-32).
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€; Two .556 caliber magazines, three 9mm magazines and approximately

1,120 rounds of various ammunition.

pursuant to the defendant’s guilty plea on February 16, 2024 to Count | of the Superseding
Indictment in case number 22-CR-86 and Count 1 of the District of Nevada Indictment 22-
CR-32, Federal Rule of Criminal Procedure 32.2(b)(2), Title 18, United States Code, Sections

924(d) and 3665, and Title 28, United States Code, Section 2461(c);

WHEREAS, for the 30 day period between June 6, 2024 and July 5, 2024, the
government published notice of the forfeiture and the government’s intent to dispose of the

Firearms and Ammunition, on an official government website (www.forfeiture.gov), in

accordance with the law and as specified in the Preliminary Order (Declaration of

Publication, ECF No. 139);

WHEREAS, no third-parties filed a petition asserting a legal interest in the Firearms
and Ammunition, and the time to do so under Title 21, United States Code, Section 853(n)(2)

has expired

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NOW THEREFORE, IT IS HEREBY ORDERED ADJUDGED AND
DECREED, pursuant to the Preliminary Order, Federal Rule of Criminal Procedure
32.2(c)(2), Title 18, United States Code, Sections 924(d) and 3665, and Title 28, United States
Code, Section 2461(c), all right, title, and interest in Firearms and Ammunition are hereby

condemned, forfeited, and vested in the United States; it is further
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ORDERED, ADJUDGED AND DECREED, that the Federal Bureau of
Investigation, or its duly authorized agents and/or contractors be, and hereby are, directed to
dispose of the Firearms and Ammunition in accordance with all applicable law and

regulations; it is further

ORDERED, ADJUDGED, AND DECREED, pursuant to Federal Rule of Criminal
Procedure 32.2(b)(4), that this Final Order of Forfeiture shall be made part of the sentence

and included in the criminal judgment; and it is further

ORDERED, ADJUDGED, AND DECREED, that this Court shall retain
jurisdiction to enforce this Order and to amend it as necessary under Federal Rule of Criminal

Procedure 32.2(e).

SO ORDERED.

Dated: Auyar y_, 2024
Buffalo, New York

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N. LAWIRESRE E J. VILARDO
NITED REN ISTRICT JUDGE

